Case 6:20-cv-00567-CEM-GJK Document 39 Filed 01/07/21 Page 1 of 4 PageID 151




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

QUINTAVIA PARRISH a/k/a
JUICY,

                    Plaintiff,

v.                                            Case No. 6:20-cv-567-Orl-41GJK

OC FLASH DANCERS, LLC and
WILLIAM SIERER, and JOHN
DOE,
                    Defendants.



                                      ORDER

      This cause came on for consideration, without oral argument, on the

following motion:

      MOTION: RENEWED MOTION TO STAY THE CASE AND
              WITHDRAW AS COUNSEL AS TO DEFENDANT,
              WILLIAM SIERER (Doc. No. 38)

      FILED:        January 6, 2021



      THEREON it is ORDERED that the motion is GRANTED in part
      and DENIED in part.

      This is a Fair Labor Standards Act case. Doc. No. 1. On December 18,

2020, Defendants OC Flash Dancers LLC (“OC Flash Dancers”) and William

Sierer’s counsel, Jesse I. Unruh, Esq. filed an unopposed motion to withdraw as
Case 6:20-cv-00567-CEM-GJK Document 39 Filed 01/07/21 Page 2 of 4 PageID 152




counsel and for a stay. Doc. No. 35. On December 22, 2020, this Court denied

the request for a stay, advised counsel he could file a renewed motion as to Sierer

at any time with appropriate contact information, and directed OC Flash Dancers

to retain substitute counsel on or before January 12, 2021 or its pleadings would

be stricken. Doc. No. 36. Counsel was advised he could renew his motion to

withdraw as to OC Flash Dancers either when substitute counsel filed a notice of

appearance, or after January 12, 2021, whichever was earlier. Id.

      On January 6, 2021, counsel filed a Renewed Motion to Stay the Case and

Withdraw as Counsel for Sierer. Doc. No. 38. In addition to seeking withdrawal

as counsel for Sierer, counsel requests a stay up to and including January 19,

2021. Id. at 3. Counsel has complied with Local Rule 2.03(b) and neither Sierer

nor opposing counsel object to the withdrawal. Id. The Motion contains no

factual or legal support for the stay that is requested. Accordingly, the Court

finds a stay would be contrary to the administration of justice.

      It is ORDERED that the Motion (Doc. No. 38) is GRANTED in part and

DENIED in part as follows:

      1. Jesse I. Unruh, Esq. of Spire Law, LLC, is granted leave to withdraw as

         counsel for William Sierer;




                                        -2-
Case 6:20-cv-00567-CEM-GJK Document 39 Filed 01/07/21 Page 3 of 4 PageID 153




      2. Counsel shall immediately serve Sierer with a copy of this order and

         file a notice with the Court certifying that Sierer has been served with

         same;

      3. Defendant Sierer may retain substitute counsel at any time, but the

         Court will not delay the progress of this case. Until such time as Sierer

         retains substitute counsel, Sierer shall proceed pro se;

      4. Until such time as Sierer retains substitute counsel, all future filings and

         papers in this case shall be served on Sierer at the following address:

                                      William Sierer
                                 5013 Legacy Oaks Drive
                                  Orlando, Florida 32839

      5. As a pro se litigant, Sierer is subject to the same law and rules of court as

         litigants who are represented by counsel, including the Federal Rules of

         Civil Procedure, the Federal Rules of Evidence, and the Local Rules of

         the United States District Court for the Middle District of Florida (the

         “Local Rules”). 1 Moon v. Newsome, 863 F.2d 835, 837 (11th Cir. 1989);




1 All filings with the Court must be made in accordance with the Federal Rules of
Civil Procedure and the Local Rules. The Local Rules are available for review on
the public website for the Middle District Court of Florida at
www.flmd.uscourts.gov and a copy may be obtained by visiting the Clerk’s
office. The Federal Rules of Civil Procedure are generally available for review at
public libraries throughout the country and in the law libraries of state and
federal courthouses.

                                        -3-
Case 6:20-cv-00567-CEM-GJK Document 39 Filed 01/07/21 Page 4 of 4 PageID 154




      6. This order does not affect any of the deadlines in this case including the

           parties’ obligation to file a case management report by January 19, 2021.

           Doc. Nos. 24, 34, 36. The parties must comply with the deadlines set

           forth therein;

      7. This order shall not be good cause to extend any deadlines in this case;

      8. Sierer shall keep the Court and opposing counsel apprised of his

           current residential mailing address. If Sierer’s address changes, for any

           reason, he shall immediately provide the Clerk, the Court, and

           opposing counsel with written notice of his new residential mailing

           address where he may be served with process, pleadings, motions,

           responses, or other papers in this case; and

      9.      The Motion is otherwise DENIED.

      DONE and ORDERED in Orlando, Florida on January 7, 2021.




Copies furnished to:

Counsel of Record
Unrepresented Parties




                                         -4-
